           Case:4:21-cv-04184-JSW
          Case    23-15531, 07/28/2023, ID: 12764342,
                                    Document          DktEntry:
                                               195 Filed        17, Page
                                                         07/28/23    Page11ofof11




                      UNITED STATES COURT OF APPEALS                        FILED
                              FOR THE NINTH CIRCUIT                          JUL 28 2023
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
DAVID ANTHONY STEBBINS, DBA                        No.    23-15531
Acerthorn,
                                                   D.C. No. 4:21-cv-04184-JSW
                  Plaintiff-Appellant,             Northern District of California,
                                                   Oakland
  v.
                                                   ORDER
KARL POLANO, DBA Sofiannp; et al.,

                  Defendants-Appellees,

and

FACEBOOK, INC.,

                  Defendant.

Before: Lisa B. Fitzgerald, Appellate Commissioner.

         The motion for summary reversal (Docket Entry No. 2) is denied.

         The opening brief has been filed. The answering brief is due August 28,

2023. The optional reply brief is due within 21 days after service of the answering

brief.




OSA113
